                         Case 4:18-cr-00013-BMM Document 48 Filed 09/13/18 Page 1 of 7

AD 245B (Rev, 02/18)    Judgment fna Criminal Case
                                                                                                                   FILED
                        Sheet I
                                                                                                                     SI!P 1S 2818
                                             UNITED STATES DISTRICT COURT                                         Clerk,U,S DistrictCourt
                                                                                                                    District Of MooIana
                                                                  District of Montana                                   Great Falls
                                                                          )
                UNITED STATES OF AMERICA                                  )       JUDGMENT IN A CRIMINAL CASE
                                      v.                                  )
                                                                          )
                         COREY SADDLER                                            Case Number: CR 18·13·GF·BMM·02
                                                                          )
                                                                          )       USM Number: 17073·046
                                                                          )
                                                                          )        Katie Rose Ranta
                                                                          )
THE DEFENDA.'IIT:
Ii!l pleaded guilty to count(,)            1 of me Indictment

o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a pica of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                       Nature arOff.nse                                                     Offense Ended
 18 U.S.C. §§ 1131>}IS), 1153(8), 2    Aiding and Abetting Assault Resulting in Serious Bodily Injury        11/8/2017                   1




       The defendant is sentenced as provided in pages 2 through         _...:.7_ _ ofthi. judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o The defendant has been found not guilty on count(s)
Ii!l Count(s)      2                                       ~ is    o arc dismissed on the motion of the United States.
         It is ordered that the defundant must notity the United States attorney for this district within 30 days of any change of name, r,,<Idence,
or mailing address until all flnes, restitution, costs, and special assessments imposed by this jud~mentare fully paid. If ordered to pay restitution,
the defimdant must notify the court and United States attorney of material changes in econonue circumstances.

                                                                          91         B




                                                                          Brian Morris, United States District Judge
                                                                         Name and Title of Judge


                                                                         9/1212018
                                                                         Date
                       Case 4:18-cr-00013-BMM Document 48 Filed 09/13/18 Page 2 of 7

AO 245B (Rev. 02l18) Judgment in Criminal CIl!IC
                     Sheet 2 Imprisonment
                                                                                                     Judgment - Page _=2_ of   7
 DEFENDANT; COREY SADDLER
 CASE NUMBER; CR 1B-13-GF-BMM-02

                                                            IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 tenn of;

  Twenty Nine (29) Months




     o The court makes the foUowing recommendations to the Bureau of Prisons;



     Ii2I The defendant is remanded to the custody of the United States Marshal.

     o The defendant shall surrender to the United States Marshal for this district:
       o at                                  0 a.m.       o p.m. on
       o as notified by the United States MarshaL
     o The defendant shaH surrender for senricc ofsentence at the institution designated by the Bureau of Prisons:
       o before 2 p.m. on
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
 [ have executed this judgment as follows:




            Defendant delivered on                                                      to

at                                                   "it. a certified copy of this judgment.


                                                                                                  UNITI!D STATES MARSHAL


                                                                         By
                                                                                               DEPlITY UNITED STATES MARSHAL
                       Case 4:18-cr-00013-BMM Document 48 Filed 09/13/18 Page 3 of 7

AO 2458 (Rev, 02/18) Judgment in II Criminal Case
                       5het':t 3 - Supervised Release
                                                                                                         Judgment Page     3    of         I
DEFENDANT: COREY SADDLER
CASE NUMBER: CR 1B-13-GF-SMM-02
                                                         SUPERVISED RELEASE
Upon relea~e from :imprisonment, you will be on supervised release for a tenn of:
     Two (2) years




                                                        MANDATORY CONDITIONS

1.      You must not commit another federal. state or local crime.
2,      You must not unlawfully possess a controlled substance,
3,      You must refrain from any unlawful usc of a controlled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as detennincd by the court
               o  The abovc drug testing condition is suspended, based on the courfs detennination that you
                   pose a low risk of future substance abuse. !check ifapplicable)
4.       0   You mu,t make restitution in accordance with 18 U.S,C, §§ 3663 and 3663A or any other statute authorizing a sentence of
             restitution. (cfreck (applicable)
5,       ~ You must cooperate in the collection of DNA as directed by the probation officer. (check ifoppllcable)
6.       0   You must comply with the requirements of the Scx Offender Registration and Notification Act (34 U.S,C, § 20901, el seq.) as
             directed by the probation officer. the Bureau of Prisons, or any state sex. offender registration agency in the location where you
             reside. work, are a student, or were convicted of a qualifying offense, (clu!ckifapplicable)
7.       0 You must participate in an approved program for domestic violence. (check ifapplicabJe)




You must comply with the standard condition~ that have been adopted by this eourt as well as with any other conditions on the attached
page,
                     Case 4:18-cr-00013-BMM Document 48 Filed 09/13/18 Page 4 of 7

 AO 245B (Rev. 02118) Judgment in a Crinunal Case
                      Sheet 3A - Supervised Release
                                                                                               JudgmenC·····,Page   __4,-_ of            I
DEFENDANT: COREY SADDLER
CASE NUMBER: CR 18-13-GF-BMM-02

                                      STANDARD CONDITIONS OF SUPERVISION
As part ofyour supervised release, you must comply with the foHowing standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements tn your conduct and condition.

I.    You must report to the probation off"tce in the federal judiefal district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probatLon offleer instructs you to report to a different probation office or within a different time
      frame,
2.    After inLtially reporting to the probation offieet you will receive instruetions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed,
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4,    You must answer truthfully the questions asked by your probation officer,
S,    You must live.t a place approved by the probation officer. If you plan to change whcre you live or anything about your living
      arrangements (such as the people you live with), you must notifY the probation officer at least 10 days before the change. If notifYing
      the probation offLccr in advance is not possible due to unanticipated circumstances, you must notify the probat(on officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere~ and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7,    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation offieer excuses you from
      doing so, If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so, If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notifY the probation officer at least 10 days before the change, If notifYing the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notifY the probation officer within 72 hours of
      becoming aware of a change or expected change,
S.    You must not communicate or interact with someone you know is engaged in criminal activity. {fyou know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    [fyou are arrested or questioned by a law enforcement officer, you must notifY the probation officer within 72 hours.
10.   You must not oVr'l1) possess) or have aeeess to a firearm, ammunition, destructive device l or dangcrous wcapon (i.e" anything that was
      designed, or was modified for, the specific purpose ofenusing bodily injury or death to another person such as nunehakus Or tasers),
II.   You must not act or make any agreement with a law enforcement agency to aet as a eonfidential human source or informant without
      first getting the permission of the eourt.
12.   lfthe probation officer detennines that you pose a risk to another person (including an organization), the probation officer may
      require you to notifY the person about the risk and you must compJy with that instruction. The probation officer may contact the
      person and confinn that you have notified the person about the risk,
13.   You must follow thc ins~tions of thc probation officer relatcd to the conditions of supervi~ion.




U.S. Probation Office Use Only
A U,S, probation officer has instructed me on the eonditions speeifled by the eourt and has provided me with a written copy of this
judgment containing these eonditions. For further infonnarlon regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.usconrts.gov.


Defendant's Signature                                                                                      Date _ _ _ _ _ _ _ _ _ __
                   Case 4:18-cr-00013-BMM Document 48 Filed 09/13/18 Page 5 of 7
AO 24SB(Rev, 02118) Judgment in 8 Criminal Case
                    Sheet 3D ~ Supervisee Release
                                                                              Juegment   Page   ~ of     t
DEFENDANT: COREY SADDLER
CASE NUMBER: CR 18-13-GF-BMM-02

                                       SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall reside in a Residential Reentry Center (RRC) under contract to the United
States Bureau of Prisons, in the pre-release component, for a period of at least 180 days. The
defendant shall abide by all rules and regulations of the center and successfully complete any
programming as deemed appropriate by the United States Probation Office.

2. The defendant shall submit his person, residence, vehicles, and papers, to a search, with or without
a warrant by any probation officer based on reasonable suspicion of contraband or evidence in
violation of a condition of release. Failure to submit to search may be grounds for revocation. The
defendant shall wam any other occupants that the premises may be subject to searches pursuant to
this condition. The defendant shall allow seizure of suspected contraband for further examination.

3. The defendant shall participate in and successfully complete a program of substance abuse
treatment as approved by the United States Probation Office, until the defendant is released from the
program by the probation office. The defendant is to pay part or all of the cost of this treatment, as
directed by the United States Probation Office,

4. The defendant shall participate in a program for mental health treatment as deemed necessary by
the United States Probation Office, until such time as the defendant is released from the program by
the probation office, The defendant is to pay part or all of the cost of this treatment, as directed by the
United States Probation Office.

5. The defendant shall abstain from the consumption of alcohol and shall not enter establishments
where alcohol is the primary item of sale,

6, The defendant shall participate in substance abuse testing, to include not more than 104 urinalysis
tests, not more than 104 breathalyzer tests, and not more than 36 sweat patch applications annually
during the period of supervision. The defendant shall pay all or part of the costs of testing as directed
by the United States Probation Office.

7. The defendant shall not possess, ingest or inhale any toxic SUbstances such as, but not limited to,
synthetic marijuana, kratom and/or synthetic stimulants such as bath salts and spice, that are not
manufactured for human consumption, for the purpose of altering his mental or physical state.

8, The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or
possess a medical marijuana card or prescription.

9. The defendant shall have no contact with the victim in the instant offense.

10. The defendant shall comply with Violent Offender Registration requirements for convicted
offenders in any state in which the defendant resides.
                        Case 4:18-cr-00013-BMM Document 48 Filed 09/13/18 Page 6 of 7
AO 245B (Rev. 02/1 8)   Judgment In Ii Criminal Cue
                        Sheet:5 - Criminal Monetary Penaltle8
                                                                                                    Judgment     Page       6      or        7
 DEFENDANT: COREY SADDLER
 CASE NUMBER: CR 18-13-GF-BMM-02
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                         Assessment                  JVTA Assessmen t*          Fine                          Restitution
 TOTALS             $ 100.00                      $ N/A                       $ WAIVED                    $


 D    The determination of restitution is deferred until _ _ _ _ • An Amended Judgment in a Criminal Cose (AO 24SC) will be entered
      after sueh detennination.

 D    The defendant must make restitution (including community restitution) to the follov.ing payees in the amount listed below.

      If the defendant makes a partial payment) each payee shaU receive an approximately propol1ioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(.), all nonfederal victims must be pald
      before the United States is paid.

Name of Payee                                                     Total Loss""           Restitution Ordered                Priori", or Percentage




TOTALS                                $ _ _ _ _ _.::;0•.::;00'_           ~                        0.00
                                                                          "'-------­


D      Restitution amount ordered pursuanl 10 plea agreement S _ _ _ _ _ _ _ _ _ __

D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U,S.c. § 3612(1). All ofth. payment options on Sheet 6 may be subject
       to penalties for delinqueney and dcfaul~ pursuant to 18 U.S.c. § 3612(g).

D      The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

       o the interest requirement is waived for the o fine 0 restitution.
       o the interest requirement for the o fine 0 restitution is modified as follows:
• lusticc for Victims of Trafficking Act of2015, Pub. L. No. 114·22 .
•• Findings for the total amount of losses are required under Chapters 109A, 110, IIOA, and II3A of Title 18 for offenses committed on or
after September 13. 1994, but before April 23, 1996.
                        Case 4:18-cr-00013-BMM Document 48 Filed 09/13/18 Page 7 of 7
AO 245B (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 6   Schedule of Payments
                                                                                                           Judgment - Page _ _
                                                                                                                             7_ of _ _7_ _
DEFENDANT: COREY SADDLER
CASE NlnffiER: CR 18-13-GF-BMM-02


                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as foHows:

A     0      Lump sum payment of$                              due immediately, balance due

             D     not later than                                  , or
             0     in aecordanee                   0    D,     0    E, or      o F below; or
B     0      Payment to begin immediately (may be combined with             DC,         OD,or         D F below); or

C     0      Payment in equal                   (e.g., weekly, monlhly, quarlerly) installments of $                           over a period of
            _ _ _ _ _ (e.g., months or years), to eommence                        (e,g., 30 or 60 days) after the date ofthts judgment~ or

D     0      Payment in equal                      (e.g., weekly, monthly, quarterly) installments of .$                      over a period of
            _ _-::;_ _ (e,g.. mDnths Dr years)1 to commenee                        (e.g., 30 or 60 days) after release from lmprisonment to a
             teon of supervjsion~ or

E     0      Payment during the term ofsupervised release will eommenee within                 (e.g., 30 or 60 days) after release from
             Imprisonment. The courtwUI set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     iZl    Special instruetions regarding the payment oferiminal monetary penalties:

              Special assessment shall be immediately due and payable. While incarcerated, criminal monetary penalty
              payments are due during imprisonment at the rate of not less than $25 per quarter, and payment shaH be through
              the Bureau of Prisons' Inmate Financial Responsibility Program. Criminal monetary payments shall be made to
              the Clerk, United States District Court, Missouri River Courthouse, 125 Central Avenue West, Suite 110, Great
              Falls, MT 59404, "Assessment Corey Saddler".
Unless the court has expressly ordered otherwise, ifthisjudement imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All eriminal monetary penalties, except those pavments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are marle to the clerk of the court.        '

The defendant shall receive credit for aU payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (Jnclwdingdefondant numb.l;), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




o    The derendant shall pay the eost of prosecution.

o    The defendant shall pay tbe following court 005t(8):

D     The defendant sball forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fme
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of ptosecution and court costs.
